                Case
     Fill in this       21-01021-hb
                  information to identify your Doc
                                               case:   1   Filed 04/12/21 Entered 04/12/21 16:13:27                             Desc Main
                                                           Document     Page 1 of 114
     United States Bankruptcy Court for the:

     ____________________
     District              District of _________________
              of South Carolina        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                             
                                                             ✔   Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                                Chapter 13                                                                 amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Regional   Ambulance Service, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               1089 Augusta Road                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Warrenville                    SC   29851
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Aiken County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 regionalambulanceservice.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Regional Ambulance Service, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            6219
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.              District of SC
                                                   District _______________________       12/16/2019 Case number _________________________
                                                                                    When _______________          19-06574
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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              Regional Ambulance Service, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199
                                             ✔
                                                                               10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Regional Ambulance Service, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million
                                                                                   ✔
                                                                                                                           $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              04/12/2021
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Darrin Moyer
                                                _____________________________________________               Darrin Moyer
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Christine E. Brimm
                                                _____________________________________________              Date         04/12/2021
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Christine E. Brimm
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Barton Brimm, PA
                                                _________________________________________________________________________________________________
                                                Firm name
                                                1500 Highway 17 Business North Suite 214
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Surfside Beach
                                                ____________________________________________________            SC             29575-5142
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                8032566582
                                                ____________________________________                              cbrimm@bartonbrimm.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                SC 6569 / FED 6313                                              SC
                                                ______________________________________________________ ____________
                                                Bar number                                             State




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1:30 PM                                   Regional Ambulance Service, Inc.
04/09/21                                    Statement of Cash Flows
                                             January 1 through April 9, 2021

                                                                               Jan 1 - Apr 9, 21
                       OPERATING ACTIVITIES
                         Net Income                                                     232,633.48

                       Net cash provided by Operating Activities                        232,633.48

                       INVESTING ACTIVITIES
                          Office Equipment                                                  -661.99

                       Net cash provided by Investing Activities                            -661.99

                       FINANCING ACTIVITIES
                          Sub S Distribution                                                -373.12

                       Net cash provided by Financing Activities                            -373.12

                    Net cash increase for period                                        231,598.37

                    Cash at beginning of period                                         172,577.25

                  Cash at end of period                                                 404,175.62




                                                                                                               Page 1
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2:35 PM                                 Regional Ambulance Service, Inc.
03/10/21                                            Profit & Loss
Cash Basis                                    January through March 2021

                                                                           Jan - Mar 21
                   Ordinary Income/Expense
                        Income
                           Fees
                              Contracted Facilities Income                  148,251.11
                              Medicare Income                               187,255.53
                              Private Insurance Income                      164,120.98
                              Private Pay Income                              6,481.08

                           Total Fees                                                506,108.70

                           Reimbursed Expenses                                            6,716.41

                        Total Income                                                 512,825.11

                        Cost of Goods Sold
                          Cost of Goods Sold                                               -400.00

                        Total COGS                                                         -400.00

                     Gross Profit                                                    513,225.11

                        Expense
                          Advertising                                                     1,039.43
                          Automobile Expense
                            Fuel                                             29,507.33
                            Maintenance                                      20,185.42

                              Parts - Automobile expenses                       289.54
                              Towing Expenses                                 3,889.16
                              Automobile Expense - Other                        130.00

                           Total Automobile Expense                                   54,001.45

                           Bank Service Charges                                           1,677.97
                           Cleaning Supplies                                                262.60
                           Computer Maintenance                                           7,522.99
                           Computer Supplies                                                996.83
                           Contributions                                                     98.27

                           Distribution                                                  171.72
                           Dues and Subscriptions                                         25.98
                           Employee Loan                                              11,147.90
                           Employee Medical Expenses                                   6,217.26
                           Employee Morale                                               219.92
                           Employee Training                                           4,959.18
                           Field Supplies
                              gloves                                          3,276.76

                           Total Field Supplies                                           3,276.76

                           Fines and Charges                                                12.00
                           Insurance
                              Liability Insurance                            46,856.78
                              Work Comp                                      17,841.00

                           Total Insurance                                            64,697.78

                           Licenses and Permits                                           3,738.16
                           Medical Supplies
                              Oxygen                                          2,887.30
                              Medical Supplies - Other                        4,294.83

                           Total Medical Supplies                                         7,182.13

                           New Hire Procedure                                          1,077.04
                           Office Supplies                                               600.78
                           Overpayment Refund                                            647.26
                           Paintball Supplies                                            110.14
                           Payroll Expenses                                          225,949.32
                           Postage and Delivery                                          810.00

                                                                                                           Page 1
          Case 21-01021-hb          Doc 1    Filed 04/12/21 Entered 04/12/21 16:13:27                 Desc Main
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2:35 PM                                   Regional Ambulance Service, Inc.
03/10/21                                                 Profit & Loss
Cash Basis                                           January through March 2021

                                                                                  Jan - Mar 21
                              Professional Fees
                                Accounting                                           2,150.00
                                ADP                                                    914.61
                                Legal Fees                                             230.00
                                Medical Director                                     3,000.00
                                Professional Fees - Other                              943.09

                              Total Professional Fees                                            7,237.70

                              Promotion                                                          5,610.77

                              Rent                                                           26,080.00
                              Repairs
                                Computer Repairs                                       268.80
                                Janitorial Exp                                       1,725.96

                              Total Repairs                                                      1,994.76

                              Shop Supplies                                                       393.67
                              Taxes
                                Payroll Taxes                                       45,464.41
                                Property                                            10,318.73
                                State                                                  125.00
                                Taxes - Other                                       14,312.93

                              Total Taxes                                                    70,221.07

                              Telephone
                                 Cell Phone                                            932.76
                                 Telephone - Other                                  18,012.10

                              Total Telephone                                                18,944.86

                              Travel & Ent
                                 Travel                                                192.68
                                 Travel & Ent - Other                                  399.12

                              Total Travel & Ent                                                  591.80

                              Uniforms                                                           2,448.50
                              Utilities
                                 Water                                                  52.71
                                 Utilities - Other                                   2,038.71

                              Total Utilities                                                    2,091.42

                              Vehicle Lease Expense                                               830.00
                              Withdrawal                                                          307.44

                        Total Expense                                                       533,194.86

                   Net Ordinary Income                                                      -19,969.75

                   Other Income/Expense
                     Other Income
                        Loan                                                                340,952.00
                        Other Income                                                         10,354.24

                     Total Other Income                                                     351,306.24

                   Net Other Income                                                         351,306.24

                 Net Income                                                                 331,336.49




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 Fill in this information to identify the case:

                Regional Ambulance Service, Inc.
  Debtor name _________________________________________________________________

                                          District of South Carolina
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                   12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                        1,144,792.72
                                                                                                                                                                                                     $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                          1,144,792.72
                                                                                                                                                                                                     $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                         1,785,934.33
                                                                                                                                                                                                     $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                            89,210.36
                                                                                                                                                                                                     $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                            +$ __________________
                                                                                                                                                                                                         1,014,003.37



4. Total liabilities ...........................................................................................................................................................................         2,889,148.06
                                                                                                                                                                                                     $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                        page 1
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      Fill in this information to identify the case:

                    Regional Ambulance Service, Inc.
      Debtor name __________________________________________________________________

                                              District of South Carolina
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                                   Check if this is an
      Case number (If known):     _________________________                                                                                            amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                                 12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,               Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of                  (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                      debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                     professional          unliquidated,   total claim amount and deduction for value of
                                                                                     services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                     government
                                                                                     contracts)
                                                                                                                           Total claim, if    Deduction for       Unsecured
                                                                                                                           partially          value of            claim
                                                                                                                           secured            collateral or
                                                                                                                                              setoff
     Department of The Treasury, IRS
1    P.O. Box 7346
     Philadelphia, PA, 19101
                                                                                                                                                                1,635,834.33


     Wells Fargo                                                                   PPP - first             Contingent
2    1739 Whiskey Road
     Aiken, SC, 29803
                                                                                                                                                                420,059.00


     Wells Fargo                                                                   PPP - second            Contingent
3    1797 Whiskey Road
     Aiken, SC, 29803
                                                                                                                                                                340,877.00


     Zurich North America                     800-693-9466
4    P.O. Box 464                             billing.and.collection@zurichna.co
     Carol Stream, IL, 60197-4664             m                                                                                                                 81,797.17


     SC Department of Revenue
5    P.O. Box 12265
     Columbia, SC, 29211-9079                                                                                                                                   62,956.69


     McCarthy, Reynolds & Penn, LLC           Harrison Penn
6    1517 Laurel Street                       803-771-8836
     P.O. Box 11332                           hpenn@mccarthy-lawfirm.com                                                                                        29,635.66
     Columbia, SC, 29211-1332


     Hamilton McKinney & Moss                 R. Curry Moss
7    10120 Two Notch Road                     803-787-1509
     Suite 2, #402                            cmoss@mosstax.com                                                                                                 25,000.00
     Columbia, SC, 29223

     Fulcher Hagler, LLP                      Scott Lewis
8    Attn: Scott Lewis                        706-828-2624
     One 10th Street, Suite 700               slewis@fulcherlaw.com                                                                                             20,235.71
     Augusta, GA, 30901




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         page 1
                 Case 21-01021-hb                Doc 1         Filed 04/12/21 Entered 04/12/21 16:13:27                                 Desc Main
                                                              Document      Page 45 of 114
                    Regional Ambulance Service, Inc.
    Debtor         _______________________________________________________                           Case number (if known)_____________________________________
                   Name




     Name of creditor and complete             Name, telephone number,         Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of            (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional           unliquidated,   total claim amount and deduction for value of
                                                                               services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
     Midlands Technical College               Suzette Senn
9    P.O. Box 2408                            803-822-3267
     Columbia, SC, 29202                      senns@midlandtech.edu                                                                                         17,567.00


     Uppro                                    Dan Choi
10 Attn: Dan Choi                             646-661-2202, ext. 101
     25 Broadway, 9th Floor                   dan@uppro.io                                                                                                  10,390.85
     New York, NJ, 10004


     Quadient Leasing USA, Inc.               Rosa Diaz
11 Dept. 3682                                 201-357-8024
     P.O. Box 123682                          rosad@amscollections.com                                                                                      9,985.54
     Dallas, TX, 75312-3682

     EDTS, n/k/a Corsica Technologies         Brooks Hudson
12 1721 Goodrich Street                       706-722-4481
     Augusta, GA, 30904                       bhudson@hullbarrett.com                                                                                       7,311.65



     Schroeder's Towing                       Charlene Weeks
13 3512 Bush River Road                       803-665-6414
     Columbia, SC, 29210                      schroederstowing@bellsouth.net                                                                                6,521.25


     Aiken Regional Medical Centers           Darren Waters
14 Attn: Darren Waters, FBO Bus. & Ind.       803-2932-0023
     Dev.                                                                                                                                                   5,604.00
     440 Society Hill Drive, Suite 204
     Aiken, SC, 29803
     Ace American Insurance Co.
15 Lockbox #6907
     P.O. Box 8500
                                                                                                                                                            5,000.00
     Philadelphia, PA, 19178

     Pollock                                  Gary Richardson
16 1711 Central Avenue                        678-495-0050
     Augusta, GA, 30904                       grichardson@c2resources.com                                                                                   3,966.16


     AFC Greer                                Ana Cardona
17 Attn: Anna Cardona                         864-458-9093
     1467 Woodruff Road, Suite C              acardona@afcurgentcare.com
     Greenville, SC, 29607                                                                                                                                  3,932.50


     Fisher & Phillips, LLP                   Stephen Mitchell
18 1320 Main Street, Suite 750                803-255-0000
     Columbia, SC, 29201                      smitchell@fisherphillips.com                                                                                  3,710.47


     Keyrisk                                  Tripp Lee
19 P.O. Box 18746                             803-227-4814
     Greensboro, NC, 27419                    tripp.lee@hubinternational.com
                                                                                                                                                            3,650.00


     Midlands Exams & Drug Screening          Megan Shaw
20 3020 Sunset Blvd., Suite 102               803-939-8422
     West Columbia, SC, 29169                 billing@midlandsexams.com                                                                                     3,223.00




    Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
                Case 21-01021-hb                   Doc 1     Filed 04/12/21 Entered 04/12/21 16:13:27                            Desc Main
                                                            Document      Page 46 of 114
  Fill in this information to identify the case:

               Regional Ambulance Service, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of South Carolina
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                 Type of account               Last 4 digits of account number
          Wells Fargo #8763
    3.1. _________________________________________________  Checking
                                                           ______________________              8
                                                                                               ____    7
                                                                                                      ____    6
                                                                                                             ____   3
                                                                                                                    ____         $______________________
                                                                                                                                   124,317.80
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 24,798.81
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
         Cashier's check (held in safe)
   4.1. _____________________________________________________________________________________________________                      250,000.00
                                                                                                                                 $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                  399,116.61
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                page 1
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Debtor            Regional Ambulance Service, Inc.         Document
                 _______________________________________________________ Page 47 of 114
                                                                                    Case number (if known)_____________________________________
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     431,526.21
                                  ____________________________    20,653.02
                                                               – ___________________________          = ........                   410,873.19
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         183,506.16
                                   ___________________________    33,429.40
                                                               – ___________________________          = ........                   150,076.76
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 560,949.95
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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                   Regional Ambulance Service, Inc.
Debtor                                                     Document
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                                                                                    Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
                                                                                                                                      2,500.00
  Medical Supplies
   ________________________________________                   ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   2,500.00
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
             Case 21-01021-hb                  Doc 1        Filed 04/12/21 Entered 04/12/21 16:13:27 Desc Main
Debtor
                Regional Ambulance Service, Inc.           Document
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                                                                                    Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Desks, file cabinets, miscellaneous
                                                                                    0.00
                                                                                  $________________   ____________________       2,000.00
                                                                                                                               $______________________
40. Office fixtures
Storage Shed
                                                                                    0.00
                                                                                  $________________   ____________________       1,500.00
                                                                                                                               $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
46 Ipads, 29 phones, printers                                                       0.00                                         13,272.16
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 16,772.16
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
              Case 21-01021-hb               Doc 1         Filed 04/12/21 Entered 04/12/21 16:13:27 Desc Main
                  Regional Ambulance Service, Inc.
 Debtor                                                   Document
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                                                                                   Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                     Net book value of    Valuation method used    Current value of
                                                                            debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          See Attached list                                                                                                165,354.00
    47.1___________________________________________________________         $________________     ____________________   $______________________

    47.2___________________________________________________________         $________________     ____________________   $______________________

    47.3___________________________________________________________         $________________     ____________________   $______________________

    47.4___________________________________________________________         $________________     ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________          $________________     ____________________   $______________________

    48.2__________________________________________________________          $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________          $________________     ____________________   $______________________

    49.2__________________________________________________________          $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________          $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                       165,354.00
                                                                                                                         $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                       page 5
               Case   21-01021-hb Doc 1
                Regional Ambulance Service, Inc.
                                                               Filed 04/12/21 Entered 04/12/21 16:13:27 Desc Main
 Debtor                                                       Document
                  _______________________________________________________   Page 51 of 114
                                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       1089 Augusta Road, Suite 300                            Lease - $5,000/mo.
55.1
       Warrenville, SC 29851
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________
       3800 Sunset Blvd.                                      Lease - $3,200/mo.
55.2
       West Columbia, SC
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________
       Maintenance Department                                 Lease -
55.3 2040 Main Street                                         $560.00/mo.
       Graniteville, SC 29829                                                                                                       0.00
                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                0.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                       0.00                                          100.00
    regionalambulanceservice.com
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                100.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
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Debtor            Regional Ambulance Service, Inc.          Document
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                                                                                     Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                      _______________     –   __________________________         =   $_____________________
                                                                      Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                    $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                    $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case 21-01021-hb                         Doc 1           Filed 04/12/21 Entered 04/12/21 16:13:27 Desc Main
                   Regional Ambulance Service, Inc.
Debtor                                                                Document
                  _______________________________________________________           Page 53 of 114
                                                                                               Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         399,116.61
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         560,949.95
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         2,500.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         16,772.16
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         165,354.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         100.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         1,144,792.72                          0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  1,144,792.72                                                                                     1,144,792.72
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case 21-01021-hb                  Doc 1             Filed 04/12/21 Entered 04/12/21 16:13:27              Desc Main
                Regional Ambulance Service, Inc.               Document      Page 54 of 114
 Debtor 1                                                                 _                  Case number (if known)
               First Name     Middle Name          Last Name



                                                       Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Wells Fargo #4651                             Checking                                   4651

Balance: 1,044.01

Wells Fargo #6775                             Checking                                   6775

Balance: 23,284.47

Wells Fargo #2462                             Checking                                   2462

Balance: 470.33




Official Form 206 A/B                                                   Schedule A/B: Property
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               Case 21-01021-hb                            Doc 1     Filed 04/12/21 Entered 04/12/21 16:13:27                                       Desc Main
                                                                    Document      Page 56 of 114
  Fill in this information to identify the case:
              Regional Ambulance Service, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of South Carolina

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien              of collateral.            claim
     Department of The Treasury, IRS                             Cash, Accounts Receivable, Medical
      __________________________________________
                                                                 Supplies, Desks, file cabinets,                                     1,635,934.33
                                                                                                                                   $__________________          1,144,792.72
                                                                                                                                                              $_________________

     Creditor’s mailing address
                                                                 miscellaneous, Storage Shed, 46 Ipads, 29
                                                                 phones, printers, See Attached list,
      Centralized Insolvency Operation
      ________________________________________________________   regionalambulanceservice.com, Cashier's
      P.O. Box 7346, Philadelphia, PA 19101
      ________________________________________________________   check (held in safe)
                                                                   Describe the lien
    Creditor’s email address, if known
                                                                   _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred            2009, 2010, 2012,
                                     __________________          2013,
                                                                  ✔ No 2014
                                                                  
    Last 4 digits of account                                       Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     US Small Business Administration
                                                                 All Assets                                                        $__________________
                                                                                                                                    150,000.00                $_________________
                                                                                                                                                               0.00
      __________________________________________
     Creditor’s mailing address
      2 North 20th Street, Suite 320
      ________________________________________________________
      Birmingham, AL 35203
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                       Agreement you made
                                                                   _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No
                                                                   Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      1,785,934.33
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            2
                                                                                                                                                                page 1 of ___
             Case 21-01021-hb                Doc 1        Filed 04/12/21 Entered 04/12/21 16:13:27                                  Desc Main
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Debtor
               Regional Ambulance Service, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Darrin Moyer
     919 Riverbound Court
     Evans, GA, 30809                                                                                                  1
                                                                                                               Line 2. __                    _________________


     SBA Office of Disaster Assistance
     408 3rd Street, SW
     Washington, DC, 20416                                                                                             2
                                                                                                               Line 2. __                    _________________


     US Securities and Exchange Commission
     Office of Reorganization
     950 East Paces Ferry Road, NE, Suite 900                                                                          1
                                                                                                               Line 2. __                    _________________
     Atlanta, GA, 30326-1382



                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
                 Case 21-01021-hb               Doc 1      Filed 04/12/21 Entered 04/12/21 16:13:27                                 Desc Main
   Fill in this information to identify the case:         Document      Page 58 of 114

   Debtor
                    Regional Ambulance Service, Inc.
                    __________________________________________________________________

                                           District of South Carolina
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           295.60                       295.60
    A'Laya Nobles                                                                                                                     $_________________
                                                            Check all that apply.
    483 Outing Club Road                                       Contingent
    Aiken, SC, 29801                                           Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Akeil Hagin                                             As of the petition filing date, the claim is: $______________________
                                                                                                            714.07                      714.07
                                                                                                                                      $_________________
                                                            Check all that apply.
    106 Edrie Oaks Circle
    Aiken, SC, 29801                                           Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                4
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           455.30                      455.30
    Albert Maurice                                                                                                                    $_________________
                                                            Check all that apply.
    145 Albert Road
                                                               Contingent
    West Columbia, SC, 29172                                   Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               4


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 26
                                                                                                                                           page 1 of ___
               Case
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  Debtor         _______________________________________________________          Case number (if known)_____________________________________
                 Name                                    Document      Page 59 of 114
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                        673.08                    673.08
                                                                                                          $______________________   $_________________
      Amanda Johnson                                      As of the petition filing date, the claim is:
      2024 Lorraine Drive Southwest                       Check all that apply.
      Aiken, SC, 29801                                        Contingent
                                                              Unliquidated
                                                              Disputed


        Date or dates debt was incurred                    Basis for the claim:

        _________________________________
                                                           Wages, Salaries, Commissions
                                                           _________________________________
        Last 4 digits of account
        number      _______________________
                                                          Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔    No
                                                              Yes

  5
2.____ Priority creditor’s name and mailing address                                                        386.20                     386.20
                                                                                                          $______________________   $_________________
      Amanda Neese
                                                          As of the petition filing date, the claim is:
      24 Country Meadow Lane
                                                          Check all that apply.
      Lexington, SC, 29073
                                                              Contingent
                                                              Unliquidated
                                                              Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                           Wages, Salaries, Commissions
                                                           _________________________________

        Last 4 digits of account
                                                          Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                          
                                                          ✔
                                                               No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                              Yes

  6
2.____ Priority creditor’s name and mailing address                                                         237.50                    237.50
                                                                                                          $______________________   $_________________
      Amy Moyer                                           As of the petition filing date, the claim is:
      919 Riverbound Court                                Check all that apply.
      Evans, GA, 30809                                        Contingent
                                                              Unliquidated
                                                              Disputed

                                                           Basis for the claim:
        Date or dates debt was incurred
        _________________________________                  Wages, Salaries, Commissions
                                                           _________________________________

        Last 4 digits of account
        number      _______________________               Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured     
                                                          ✔
                                                               No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                         Yes

  7
2.____ Priority creditor’s name and mailing address                                                       393.16
                                                          As of the petition filing date, the claim is: $______________________
                                                                                                                                      393.16
                                                                                                                                    $_________________
      April R. Taylor
                                                          Check all that apply.
      483 Outing Club Road
      Aiken, SC, 29801
                                                              Contingent
                                                              Unliquidated
                                                              Disputed


                                                           Basis for the claim:
        Date or dates debt was incurred
                                                           Wages, Salaries, Commissions
                                                           _________________________________
        _________________________________

        Last 4 digits of account                           Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                               No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                              Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  2 of ___
                                                                                                                                                page __    26
                Case
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                  Name                                    Document      Page 60 of 114
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                         760.19                    760.19
                                                                                                           $______________________   $_________________
       Brandon Ziglar                                      As of the petition filing date, the claim is:
       1007 Frances Street                                 Check all that apply.
       North Augusta, SC, 29841                                Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  9
2.____ Priority creditor’s name and mailing address                                                         454.87                     454.87
                                                                                                           $______________________   $_________________
       Brian C. Williams
                                                           As of the petition filing date, the claim is:
       2184 Winding Trail Road
                                                           Check all that apply.
       Graniteville, SC, 29829
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  10
2.____ Priority creditor’s name and mailing address                                                          334.08                    334.08
                                                                                                           $______________________   $_________________
       Briana E. Fallon                                    As of the petition filing date, the claim is:
       4021 Percival Road                                  Check all that apply.
       Apt. 1833                                               Contingent
       Columbia, SC, 29229                                     Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  11
2.____ Priority creditor’s name and mailing address                                                        473.14
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       473.14
                                                                                                                                     $_________________
      Cassandra R. Dunbar
                                                           Check all that apply.
      301 Huber Clay Road
      Warrenville, SC, 29851
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  3 of ___
                                                                                                                                                 page __    26
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                  Name                                    Document      Page 61 of 114
 Pa rt 1 .     Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                         405.52                    405.52
                                                                                                           $______________________   $_________________
       Catherine Kaylor                                    As of the petition filing date, the claim is:
       2007 Canada Drive                                   Check all that apply.
       Augusta, GA, 30906                                      Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  13
2.____ Priority creditor’s name and mailing address                                                         841.72                     841.72
                                                                                                           $______________________   $_________________
       Christopher Burgess
                                                           As of the petition filing date, the claim is:
       2353 Camelia Street
                                                           Check all that apply.
       Cayce, SC, 29033
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  14
2.____ Priority creditor’s name and mailing address                                                          343.88                    343.88
                                                                                                           $______________________   $_________________
       Dallas J. Brown                                     As of the petition filing date, the claim is:
       83 Boyd Drive                                       Check all that apply.
       Graniteville, SC, 29829                                 Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  15
2.____ Priority creditor’s name and mailing address                                                        96.25
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       96.25
                                                                                                                                     $_________________
    Darrell S. Satcher
                                                           Check all that apply.
    202 Wildwood Drive
    North Augusta, SC, 29841
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  4 of ___
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                Case
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  Debtor          _______________________________________________________          Case number (if known)_____________________________________
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 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  16
2.____ Priority creditor’s name and mailing address                                                         2,307.69                  2,307.69
                                                                                                           $______________________   $_________________
       Darrin K. Moyer                                     As of the petition filing date, the claim is:
       919 Riverbound Court                                Check all that apply.
       Evans, GA, 30809                                        Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  17
2.____ Priority creditor’s name and mailing address                                                         304.52                     304.52
                                                                                                           $______________________   $_________________
       Daryl Leto
                                                           As of the petition filing date, the claim is:
       379 Redds Branch Road
                                                           Check all that apply.
       Aiken, SC, 29801
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  18
2.____ Priority creditor’s name and mailing address                                                          613.13                    613.13
                                                                                                           $______________________   $_________________
       Dwight B. Pixley                                    As of the petition filing date, the claim is:
       144 Denise Court                                    Check all that apply.
       Aiken, SC, 29801                                        Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  19
2.____ Priority creditor’s name and mailing address                                                        1,057.69
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       1,057.69
                                                                                                                                     $_________________
    Eddie E. White
                                                           Check all that apply.
    332 Southbrook Drive
    Lexington, SC, 29073
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  5 of ___
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  20
2.____ Priority creditor’s name and mailing address                                                         1,401.94                  1,401.94
                                                                                                           $______________________   $_________________
       Elizabeth Klein                                     As of the petition filing date, the claim is:
       401 Wannamaker Street                               Check all that apply.
       Orangeburg, SC, 29115                                   Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  21
2.____ Priority creditor’s name and mailing address                                                         362.02                     362.02
                                                                                                           $______________________   $_________________
       Emanuel Mixon
                                                           As of the petition filing date, the claim is:
       3421 Winesap Way
                                                           Check all that apply.

       Augusta, GA, 30906
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  22
2.____ Priority creditor’s name and mailing address                                                          865.39                    865.39
                                                                                                           $______________________   $_________________
       Erica R. Zamora                                     As of the petition filing date, the claim is:
       332 Southbrook Drive                                Check all that apply.
       Lexington, SC, 29073                                    Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  23
2.____ Priority creditor’s name and mailing address                                                        432.41
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       432.41
                                                                                                                                     $_________________
    Fedirra R. Bryant
                                                           Check all that apply.
    1914 Alan Avenue
    Aiken, SC, 29801
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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  24
2.____ Priority creditor’s name and mailing address                                                         890.96                    890.96
                                                                                                           $______________________   $_________________
       George Rivers                                       As of the petition filing date, the claim is:
       110 Joe Paul Drive                                  Check all that apply.
       Cordova, SC, 29039                                      Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  25
2.____ Priority creditor’s name and mailing address                                                         167.79                     167.79
                                                                                                           $______________________   $_________________
       Hannah E. Greene
                                                           As of the petition filing date, the claim is:
       201 Woodgate Drive
                                                           Check all that apply.
       Columbia, SC, 29223
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  26
2.____ Priority creditor’s name and mailing address                                                          793.30                    793.30
                                                                                                           $______________________   $_________________
       Harrison Arline                                     As of the petition filing date, the claim is:
       111 Sabal Drive                                     Check all that apply.
       Aiken, SC, 29803                                        Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  27
2.____ Priority creditor’s name and mailing address                                                        769.23
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       769.23
                                                                                                                                     $_________________
    Heather M. Durham
                                                           Check all that apply.
    420 E. Wise Street
    Trenton, SC, 29847
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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  28
2.____ Priority creditor’s name and mailing address                                                         784.84                    784.84
                                                                                                           $______________________   $_________________
       Jacqueline Brenes                                   As of the petition filing date, the claim is:
       214 Oakwood Drive                                   Check all that apply.
       Aiken, SC, 29801                                        Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  29
2.____ Priority creditor’s name and mailing address                                                         189.79                     189.79
                                                                                                           $______________________   $_________________
       Jazmyn Couvillon
                                                           As of the petition filing date, the claim is:
       133 Bradleyville Road
                                                           Check all that apply.
       North Augusta, SC, 29841
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  30
2.____ Priority creditor’s name and mailing address                                                          1,153.85                  1,153.85
                                                                                                           $______________________   $_________________
       Jeffrey Kyle Foster                                 As of the petition filing date, the claim is:
       174 Spring Oak Lane                                 Check all that apply.
       North Augusta, SC, 29841                                Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  31
2.____ Priority creditor’s name and mailing address                                                        570.60
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       570.60
                                                                                                                                     $_________________
    Jose Mendoza
                                                           Check all that apply.
    1723 Colleton Avenue
    Aiken, SC, 29801
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  32
2.____ Priority creditor’s name and mailing address                                                         415.20                    415.20
                                                                                                           $______________________   $_________________
       Kara L. Jolly                                       As of the petition filing date, the claim is:
       5234 Platt Springs Road                             Check all that apply.
       Lot 2                                                   Contingent
       Lexington, SC, 29073                                    Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  33
2.____ Priority creditor’s name and mailing address                                                         25.16                      25.16
                                                                                                           $______________________   $_________________
       Kordisha Mayers
                                                           As of the petition filing date, the claim is:
       4932 Barrington Drive
                                                           Check all that apply.
       Columbia, SC, 29203
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  34
2.____ Priority creditor’s name and mailing address                                                          218.50                    218.50
                                                                                                           $______________________   $_________________
       Lee Yvette McGraw                                   As of the petition filing date, the claim is:
       530 Chisolm Way                                     Check all that apply.
       Lexington, SC, 29073                                    Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  35
2.____ Priority creditor’s name and mailing address                                                        587.20
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       587.20
                                                                                                                                     $_________________
    Michael Close
                                                           Check all that apply.
    776 W. Martintown Road
    North Augusta, SC, 29841
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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  36
2.____ Priority creditor’s name and mailing address                                                         220.00                    220.00
                                                                                                           $______________________   $_________________
       Nicholas Jackson                                    As of the petition filing date, the claim is:
       633 Rawl Street                                     Check all that apply.
       Columbia, SC, 29203                                     Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  37
2.____ Priority creditor’s name and mailing address                                                         389.59                     389.59
                                                                                                           $______________________   $_________________
       Odel D. Pearson
                                                           As of the petition filing date, the claim is:
       401 Wanna Maker Street
                                                           Check all that apply.
       Orangeburg, SC, 29115
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  38
2.____ Priority creditor’s name and mailing address                                                          257.95                    257.95
                                                                                                           $______________________   $_________________
       Robert Metz                                         As of the petition filing date, the claim is:
       309 Gemstone Court                                  Check all that apply.
       Lexington, SC, 29072                                    Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  39
2.____ Priority creditor’s name and mailing address                                                        99.15
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       99.15
                                                                                                                                     $_________________
    Robin Armstrong
                                                           Check all that apply.
    1253 Basin Rock Lane
    Lexington, SC, 29073
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  40
2.____ Priority creditor’s name and mailing address                                                         62,956.69                 62,956.69
                                                                                                           $______________________   $_________________
       SC Department of Revenue                            As of the petition filing date, the claim is:
       P.O. Box 12265                                      Check all that apply.
       Columbia, SC, 29211-9079                                Contingent
                                                               Unliquidated
                                                           
                                                           ✔    Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Taxes & Other Government Units
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    8
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  41
2.____ Priority creditor’s name and mailing address                                                         0.00
                                                                                                           $______________________   $_________________
       Sarah A. Harding
                                                           As of the petition filing date, the claim is:
       32 Hampton Drive
                                                           Check all that apply.
       Warrenville, SC, 29851
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  42
2.____ Priority creditor’s name and mailing address                                                          345.93                    345.93
                                                                                                           $______________________   $_________________
       Shannon R. Williamson                               As of the petition filing date, the claim is:
       295 Baylor Drive                                    Check all that apply.
       Graniteville, SC, 29829                                 Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  43
2.____ Priority creditor’s name and mailing address                                                        540.65
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       540.65
                                                                                                                                     $_________________
    Stephen Anglin, III
                                                           Check all that apply.
    5012 Serendipity Court
    Aiken, SC, 29803
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount


  44
2.____ Priority creditor’s name and mailing address                                                         138.46                    138.46
                                                                                                           $______________________   $_________________
       Steve W. Shillinglaw                                As of the petition filing date, the claim is:
       1998 Windrose Way                                   Check all that apply.
       Myrtle Beach, SC, 29577                                 Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  45
2.____ Priority creditor’s name and mailing address                                                         401.25                     401.25
                                                                                                           $______________________   $_________________
       Sydney Elkins
                                                           As of the petition filing date, the claim is:
       130 Adler Road
                                                           Check all that apply.
       West Columbia, SC, 29170
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  46
2.____ Priority creditor’s name and mailing address                                                          213.64                    213.64
                                                                                                           $______________________   $_________________
       Tabitha L. Perkins                                  As of the petition filing date, the claim is:
       1915 Old Barnwell Road                              Check all that apply.
       Lexington, SC, 29073                                    Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  47
2.____ Priority creditor’s name and mailing address                                                        535.13
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       535.13
                                                                                                                                     $_________________
    Tiara Jenkins
                                                           Check all that apply.
    122 Springwood Loop
    Warrenville, SC, 29851
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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  48
2.____ Priority creditor’s name and mailing address                                                         391.25                    391.25
                                                                                                           $______________________   $_________________
       Tracy L. Winters                                    As of the petition filing date, the claim is:
       509 Polo Drive                                      Check all that apply.
       Aiken, SC, 29801                                        Contingent
                                                               Unliquidated
                                                               Disputed


        Date or dates debt was incurred                     Basis for the claim:

        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        Last 4 digits of account
        number      _______________________
                                                           Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                           
                                                           ✔    No
                                                               Yes

  49
2.____ Priority creditor’s name and mailing address                                                         463.52                     463.52
                                                                                                           $______________________   $_________________
       Trevor Starnes
                                                           As of the petition filing date, the claim is:
       76 Edwards Drive
                                                           Check all that apply.
       North Augusta, SC, 29860
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                            Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
                                                           Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                           
                                                           ✔
                                                                No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes

  50
2.____ Priority creditor’s name and mailing address                                                          1,065.25                  1,065.25
                                                                                                           $______________________   $_________________
       Veronica D. Weston                                  As of the petition filing date, the claim is:
       305 Holt Street                                     Check all that apply.
                                                               Contingent
       Eastover, SC, 29044                                     Unliquidated
                                                               Disputed

                                                            Basis for the claim:
        Date or dates debt was incurred
        _________________________________                   Wages, Salaries, Commissions
                                                            _________________________________

        Last 4 digits of account
        number      _______________________                Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured      
                                                           ✔
                                                                No
        claim: 11 U.S.C. § 507(a) (_____)
                                    4                          Yes

  51
2.____ Priority creditor’s name and mailing address                                                        416.13
                                                           As of the petition filing date, the claim is: $______________________
                                                                                                                                       416.13
                                                                                                                                     $_________________
    Zenobia T. Darby
                                                           Check all that apply.
    50 Dallas Circle
    Aiken, SC, 29801
                                                               Contingent
                                                               Unliquidated
                                                               Disputed


                                                            Basis for the claim:
        Date or dates debt was incurred
                                                            Wages, Salaries, Commissions
                                                            _________________________________
        _________________________________

        Last 4 digits of account                            Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            
                                                            ✔
                                                                No
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                               Yes


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 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Ace American Insurance Co.                                                                                               5,000.00
                                                                                                                           $________________________________
                                                                              Contingent
    Lockbox #6907                                                             Unliquidated
    P.O. Box 8500                                                             Disputed
    Philadelphia, PA, 19178
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADP                                                                    Check all that apply.                             Unknown
                                                                                                                           $________________________________
    P.O. Box 12513                                                            Contingent
    1851 N. Resler Drive                                                      Unliquidated
    El Paso, TX, 79912                                                        Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    AFC Greer                                                                                                                3,932.50
                                                                                                                           $________________________________
                                                                              Contingent
    Attn: Anna Cardona                                                        Unliquidated
    1467 Woodruff Road, Suite C                                               Disputed
    Greenville, SC, 29607
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aiken County EMS                                                       Check all that apply.
                                                                                                                             200.00
                                                                                                                           $________________________________
    1930 University Parkway, Suite 3200                                       Contingent
    Warrenville, SC, 29851                                                    Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aiken Regional Medical Centers                                                                                           5,604.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    Attn: Darren Waters, FBO Bus. & Ind. Dev.                                 Contingent
    440 Society Hill Drive, Suite 204                                         Unliquidated
    Aiken, SC, 29803                                                          Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Air Gas                                                                                                                  1,000.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    P.O. Box 734672                                                           Contingent
    Dallas, TX, 75373                                                         Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             1,116.00
                                                                                                                      $________________________________
 All Star Towing                                                         Contingent
 3500 Fernandina Road, Apt. E-3                                          Unliquidated
 Columbia, SC, 29210                                                     Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        1,676.33
                                                                                                                      $________________________________
 Angelica
 P.O. Box 532268                                                         Contingent
 Atlanta, GA, 30353-2268                                                 Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Augusta Data Storage                                                 Check all that apply.
                                                                                                                       30.00
                                                                                                                      $________________________________
 3122 Mike Padgett Highway                                               Contingent
 Augusta, GA, 30906                                                      Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       64.65
                                                                                                                      $________________________________
 Blue Cross Blue Shield of SC                                         Check all that apply.
 4101 Percival Road                                                      Contingent
 Columbia, SC, 29219-8320                                                Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Bon Secours Ambulatory Service                                       Check all that apply.
                                                                                                                        934.41
                                                                                                                      $________________________________
 St. Fran                                                                Contingent
 1467 Woodruff Road, Suite C                                             Unliquidated
 Greenville, SC, 29607                                                   Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             306.30
                                                                                                                      $________________________________
 Companion Life                                                          Contingent
 P.O. Box 100102                                                         Unliquidated
 Columbia, SC, 29202-3102                                                Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        11.75
                                                                                                                      $________________________________
 Connector 2000 Association
 P.O. Box 408                                                            Contingent
 Piedmont, SC, 29673                                                     Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 CSRA Paper & Janitorial Supply                                       Check all that apply.
                                                                                                                       1,343.22
                                                                                                                      $________________________________
 2002 Gordon Highway                                                     Contingent
 Augusta, GA, 30909                                                      Unliquidated
                                                                      
                                                                      ✔
                                                                          Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Deltacom, n/k/a Windstream Enterprise                                Check all that apply.
 P.O. Box 2252                                                           Contingent
 Birmingham, AL, 35246-1058                                              Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Dept. of Public Utilities                                            Check all that apply.
                                                                                                                        447.11
                                                                                                                      $________________________________
 P.O. Box 1057                                                           Contingent
 Orangeburg, SC, 29116-1057                                              Unliquidated
                                                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             306.71
                                                                                                                      $________________________________
 Doctors Care                                                            Contingent
 P.O. Box 63418                                                          Unliquidated
 Charlotte, NC, 28263-3418                                               Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        7,311.65
                                                                                                                      $________________________________
 EDTS, n/k/a Corsica Technologies
 1721 Goodrich Street                                                    Contingent
 Augusta, GA, 30904                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Fisher & Phillips, LLP                                               Check all that apply.
                                                                                                                       3,710.47
                                                                                                                      $________________________________
 1320 Main Street, Suite 750                                             Contingent
 Columbia, SC, 29201                                                     Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       Unknown
                                                                                                                      $________________________________
 Fuelman                                                              Check all that apply.
 P.O. Box 70887                                                          Contingent
 Charlotte, NC, 28272                                                    Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Fulcher Hagler, LLP                                                  Check all that apply.
                                                                                                                        20,235.71
                                                                                                                      $________________________________
 Attn: Scott Lewis                                                       Contingent
 One 10th Street, Suite 700                                              Unliquidated
 Augusta, GA, 30901                                                      Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  22
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             510.00
                                                                                                                      $________________________________
 Gray's Auto & Tire                                                      Contingent
 3702 Bamberg Road                                                       Unliquidated
 Orangeburg, SC, 29115                                                   Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        25,000.00
                                                                                                                      $________________________________
 Hamilton McKinney & Moss
 10120 Two Notch Road                                                    Contingent
 Suite 2, #402                                                           Unliquidated
 Columbia, SC, 29223                                                     Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Jiffy Lube                                                           Check all that apply.
                                                                                                                       158.06
                                                                                                                      $________________________________
 P.O. Box 211042                                                         Contingent
 Martinez, GA, 30917                                                     Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       3,650.00
                                                                                                                      $________________________________
 Keyrisk                                                              Check all that apply.
 P.O. Box 18746                                                          Contingent
 Greensboro, NC, 27419                                                   Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Levi, Wittenburg, Harriet, Hoeffer                                   Check all that apply.
                                                                                                                        Unknown
                                                                                                                      $________________________________
 P.O. Drawer 730                                                         Contingent
 Sumter, SC, 29151                                                       Unliquidated
                                                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             458.00
                                                                                                                      $________________________________
 Lexington Medical Center                                                Contingent
 Attn: Nancy Sells                                                       Unliquidated
 P.O. Box 2210                                                           Disputed
 Lexington, SC, 29071-2210
                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        1,950.24
                                                                                                                      $________________________________
 Mail Finance
 25881 Network Place                                                     Contingent
 Chicago, IL, 60673                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 McCarthy, Reynolds & Penn, LLC                                       Check all that apply.
                                                                                                                       29,635.66
                                                                                                                      $________________________________
 1517 Laurel Street                                                      Contingent
 P.O. Box 11332                                                          Unliquidated
 Columbia, SC, 29211-1332                                                Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       1,144.75
                                                                                                                      $________________________________
 Med Care Columbia                                                    Check all that apply.
 P.O. Box 415000                                                         Contingent
 Nashville, TN, 37241                                                    Unliquidated
                                                                      
                                                                      ✔
                                                                          Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Midlands Exams & Drug Screening                                      Check all that apply.
                                                                                                                        3,223.00
                                                                                                                      $________________________________
 3020 Sunset Blvd., Suite 102                                            Contingent
 West Columbia, SC, 29169                                                Unliquidated
                                                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             17,567.00
                                                                                                                      $________________________________
 Midlands Technical College                                              Contingent
 P.O. Box 2408                                                           Unliquidated
 Columbia, SC, 29202                                                     Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        153.13
                                                                                                                      $________________________________
 NACM Southwest
 751 Plaza Blvd.                                                         Contingent
 Coppell, TX, 75019                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 O'Reilly Auto Parts                                                  Check all that apply.
                                                                                                                       155.88
                                                                                                                      $________________________________
 1012 Gregg Highway NW                                                   Contingent
                                                                         Unliquidated
 Aiken, SC, 29801                                                        Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       3,966.16
                                                                                                                      $________________________________
 Pollock                                                              Check all that apply.
 1711 Central Avenue                                                     Contingent
 Augusta, GA, 30904                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Quadient Leasing USA, Inc.                                           Check all that apply.
                                                                                                                        9,985.54
                                                                                                                      $________________________________
 Dept. 3682                                                              Contingent
 P.O. Box 123682                                                         Unliquidated
 Dallas, TX, 75312-3682                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             6,521.25
                                                                                                                      $________________________________
 Schroeder's Towing                                                      Contingent
 3512 Bush River Road                                                    Unliquidated
 Columbia, SC, 29210                                                     Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        483.76
                                                                                                                      $________________________________
 Southern Anesthesia Surgical, Inc.
 One Southern Court                                                      Contingent
 West Columbia, SC, 29169                                                Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Stamps.com                                                           Check all that apply.
                                                                                                                       19.43
                                                                                                                      $________________________________
 1990 East Grand Avenue                                                  Contingent
 El Segundo, CA, 90245                                                   Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       272.00
                                                                                                                      $________________________________
 Stevens Towing                                                       Check all that apply.
 2307 Airport Road                                                       Contingent
 Greer, SC, 29650                                                        Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 The Hartford Sentinel Insurance Co.                                  Check all that apply.
                                                                                                                        198.00
                                                                                                                      $________________________________
 P.O. Box 660916                                                         Contingent
                                                                         Unliquidated
 Dallas, TX, 75266-0916                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             512.00
                                                                                                                      $________________________________
 UMG Prompt Care                                                         Contingent
 925 Branch Court                                                        Unliquidated
 Grovetown, GA, 30813                                                    Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        247.00
                                                                                                                      $________________________________
 University Occupational Health Center
 3121 Peach Orchard Road, Suite 201                                      Contingent
 Augusta, GA, 30906                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Uppro                                                                Check all that apply.
                                                                                                                       10,390.85
                                                                                                                      $________________________________
 Attn: Dan Choi                                                          Contingent
 25 Broadway, 9th Floor                                                  Unliquidated
 New York, NJ, 10004                                                     Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       52.50
                                                                                                                      $________________________________
 Urgent Care Group, LLC                                               Check all that apply.
 P.O. Box 415000                                                         Contingent
 Nashville, TN, 37241-8091                                               Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 US Bank Equipment Finance                                            Check all that apply.
                                                                                                                        638.64
                                                                                                                      $________________________________
 P.O. Box 790448                                                         Contingent
 St Louis, MO, 63179-0448                                                Unliquidated
                                                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             237.56
                                                                                                                      $________________________________
 US Standard Products                                                     Contingent
 P.O. Box 5509                                                            Unliquidated
 Englewood, NJ, 07631                                                     Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number        ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        466.77
                                                                                                                      $________________________________
 Verizon
 P.O. Box 660108                                                          Contingent
 Dallas, TX, 75226-0108                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                           No
                                                                          Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Wells Fargo                                                          Check all that apply.
                                                                                                                       420,059.00
                                                                                                                      $________________________________
 1739 Whiskey Road                                                    ✔
                                                                           Contingent
 Aiken, SC, 29803                                                         Unliquidated
                                                                          Disputed
                                                                      Basis for the claim: PPP - first



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                           No
                                                                          Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       340,877.00
                                                                                                                      $________________________________
 Wells Fargo                                                          Check all that apply.
 1797 Whiskey Road                                                    
                                                                      ✔
                                                                           Contingent
 Aiken, SC, 29803                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: PPP - second



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                           No
        Last 4 digits of account number        ___________________        Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Wingard Towing                                                       Check all that apply.
                                                                                                                        387.00
                                                                                                                      $________________________________
 1809 Augusta Road                                                        Contingent
 West Columbia, SC, 29169                                                 Unliquidated
                                                                          Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                           No
        Last 4 digits of account number        ___________________        Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             55.21
                                                                                                                      $________________________________
 Worker's Compensation RX Solutions                                      Contingent
 14301 N. 87th Street                                                    Unliquidated
 Scottsdale, AZ, 85260                                                   Disputed

                                                                      Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        81,797.17
                                                                                                                      $________________________________
 Zurich North America
 P.O. Box 464                                                            Contingent
 Carol Stream, IL, 60197-4664                                            Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
                                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed
                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
        Last 4 digits of account number        __________________        No
                                                                         Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
                                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed

                                                                      Basis for the claim:



        Date or dates debt was incurred        ___________________     Is the claim subject to offset?
                                                                         No
        Last 4 digits of account number        ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                           $________________________________
                                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred        ____________________    Is the claim subject to offset?
                                                                         No
        Last 4 digits of account number        ___________________       Yes




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Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          AFC Urgent Care
4.1.      P.O. Box 743652                                                                           3.3
                                                                                               Line _____
          Atlanta, GA, 30374-3652                                                                                                               ________________
                                                                                                    Not listed. Explain:


          Allen, Maxwell & Silver
4.2.
          P.O. Box 540                                                                         Line 3.36
                                                                                                    _____
          Fair Lawn, NJ, 07410                                                                    Not listed. Explain                          ________________



          Craig H. Allen, Esq.                                                                      3.36
4.3.                                                                                           Line _____
          Craig H. Allen, PA
          P.O. Box 10854                                                                          Not listed. Explain                          ________________
          Greenville, SC, 29603
          SC Dept. of Employment and Workforce
4.4.      1550 Gadsden Street                                                                       2.40
                                                                                               Line _____
          P.O. Box 8597                                                                                                                         ________________
          Columbia, SC, 29202
                                                                                                  Not listed. Explain

          South Carolina Health Care Association
41.       176 Laurelhurst Avenue                                                                    3.23
                                                                                               Line _____
          Columbia, SC, 29210                                                                                                                   ________________
                                                                                                  Not listed. Explain

4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __     26
                                                                                                                                                                25 of ___
             Case
              Regional21-01021-hb
                       Ambulance Service, Inc. Doc 1    Filed 04/12/21 Entered 04/12/21 16:13:27 Desc Main
 Debtor        _______________________________________________________          Case number (if known)_____________________________________
               Name                                    Document      Page 83 of 114
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                             Total of claim amounts



5a. Total claims from Part 1                                                                     5a.
                                                                                                               89,210.36
                                                                                                             $_____________________________




5b. Total claims from Part 2                                                                     5b.   +       1,014,003.37
                                                                                                             $_____________________________




5c. Total of Parts 1 and 2                                                                                     1,103,213.73
                                                                                                 5c.         $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                     page __     26
                                                                                                                                           26 of ___
             Case 21-01021-hb                 Doc 1        Filed 04/12/21 Entered 04/12/21 16:13:27                                Desc Main
                                                          Document      Page 84 of 114
 Fill in this information to identify the case:

             Regional Ambulance Service, Inc.
 Debtor name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Oxygen                                            Air Gas
         State what the contract or                                                      1221 New Savannah Road
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Augusta, GA, 30901

         State the term remaining
         List the contract number of
         any government contract

                                       Columbia Landlord                                 Henry Abeyta
         State what the contract or                                                      159 North Wrennwood
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Lexington, SC, 29073

         State the term remaining
         List the contract number of
         any government contract

                                       Aiken Maintenance Landlord                         John Adams
         State what the contract or
                                                                                          519 Augusta Road
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Warrenville, SC, 29851

         State the term remaining
         List the contract number of
         any government contract

                                       EMS Aiken Landlord                                 Piedmont Planning, LLC
         State what the contract or
 2.4                                                                                      1089 Augusta Road
         lease is for and the nature
         of the debtor’s interest                                                         Warrenville, SC, 29851

         State the term remaining
         List the contract number of
         any government contract

                                       1 Stamp Machine                                    Mail Finance/Neopost USA, Inc.
         State what the contract or
 2.5     lease is for and the nature
                                                                                          478 Wheelers Farm Road
         of the debtor’s interest                                                         Milford, CT, 06461

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        2
                                                                                                                                              page 1 of ___
             Case 21-01021-hb               Doc 1       Filed 04/12/21 Entered 04/12/21 16:13:27                            Desc Main
                                                       Document      Page 85 of 114
               Regional Ambulance Service, Inc.
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          3 Copiers                                      Pollock
            State what the contract or                                                   1711 Central Avenue
   6
 2.____     lease is for and the nature                                                  Augusta, GA, 30904
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          1 Trash Container                              Zters, Inc.
            State what the contract or                                                   13727 Office Park Drive
   7
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Houston, TX, 77070

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
                                                                                                                                             2 of ___
                                                                                                                                                  2
             Case 21-01021-hb                 Doc 1        Filed 04/12/21 Entered 04/12/21 16:13:27                                 Desc Main
                                                          Document      Page 86 of 114
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Regional Ambulance Service, Inc.

                                         District of South Carolina
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Darrin Moyer                  Darrin Moyer
 2.1
                                     1089 Augusta Road                                                   SC  Department of Revenue D
                                                                                                          _____________________
                                                                                                                                             ✔ E/F
                                                                                                                                             
                                     Warrenville, SC 29851                                                                                    G




 2.2
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
            Case 21-01021-hb                  Doc 1        Filed 04/12/21 Entered 04/12/21 16:13:27                                Desc Main
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Fill in this information to identify the case:
             Regional Ambulance Service, Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of South Carolina District of _________
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                   Gross revenue
            may be a calendar year                                                             Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                                573,904.31
           fiscal year to filing date:           01/01/2021
                                           From ___________         to     Filing date          Other                               $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________         
                                                                                               ✔ Operating a business                         3,154,853.50
                                                                                                                                     $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2019
                                           From ___________         to     12/31/2019
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                              3,737,267.83
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                                                                          340,877.00
                                                                                               ___________________________
                                                                                              PPP Loan                              $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   PPP, Covid Stimulus
                                                                                               ___________________________                    561,096.00
                                                                                                                                    $__________________



           For the year before that:       From 01/01/2019
                                                ___________         to      12/31/2019
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                          0.00
                                                                                                                                    $__________________




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                 Regional Ambulance Service, Inc.
Debtor           _______________________________________________________                        Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates           Total amount or value        Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Fuelman
             __________________________________________
                                                            3/1/21; 3/15/21
                                                              ________          $_________________
                                                                                 29,840.52                       Secured debt
             Creditor’s name
              P.O. Box 70887
                                                                                                                 Unsecured loan repayments
              Charlotte, NC 28272                             ________2/15/21
                                                            2/1/2021;                                            Suppliers or vendors

                                                                                                                 Services
                                                              ________
                                                            3/29/21                                         
                                                                                                            ✔     Other _______________________________


     3.2.

              ADP                                                    2/11/21 $_________________
                                                              ________
                                                            1/29/21;          96,157.87                          Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              P.O. Box 12513
              1851 N. Resler Drive                            ________
                                                            2/26/21; 3/12/21                                     Suppliers or vendors
              El Paso, TX 79912                                                                                  Services
                                                              ________
                                                            3/26/21; 4/9/21                                 
                                                                                                            ✔     Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates           Total amount or value       Reasons for payment or transfer
     4.1.

             __________________________________________      _________         $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________         $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
              Case 21-01021-hb               Doc 1       Filed 04/12/21 Entered 04/12/21 16:13:27                                  Desc Main
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                 Regional Ambulance Service, Inc.
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Quadient Leasing USA, Inc. v.                                                    Court of Common Pleas Aiken County
     7.1.   Regional Ambulance Service, Inc.                                                                                                   
                                                                                                                                               ✔   Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded


      2021CP-0200613
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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                 Regional Ambulance Service, Inc.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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                Regional Ambulance Service, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Barton Brimm, PA
            __________________________________________        $20,000.00 retainer; $1,738.00 filing fee;
   11.1.                                                                                                                 3/18/21 & 3/19/2021$_________
                                                              $9,745.80 applied to 3/31/21 billing; $9,870.00            ______________       20,000.00
            Address                                           applied to 4/12/21 billing; balance of retainer
                                                              remaining $2,122.20
            P.O. Box 14805
            Myrtle Beach, SC 29587




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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                Regional Ambulance Service, Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    608 Broughton Street                                                                               From        11/1/2007
                                                                                                                          ____________       To   07/01/2019
                                                                                                                                                  ____________
            Orangeburg, SC 29115




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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                 Regional Ambulance Service, Inc.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
     
     ✔     Yes. Fill in the information below.
            Facility name and address                         Nature of the business operation, including type of services the              If debtor provides meals
                                                              debtor provides                                                               and housing, number of
                                                                                                                                            patients in debtor’s care
                                                             Ambulance and Wheelchair Transportation
   15.1.    Regional Ambulance Services
            ________________________________________                                                                                        ____________________
            Facility name

            1089 Augusta Road                                 Location where patient records are maintained (if different from facility
            Suite 300                                         address). If electronic, identify any service provider.                       How are records kept?
            Warrenville, SC 29851
                                                                                                                                            Check all that apply:

                                                                                                                                            ✔
                                                                                                                                               Electronically
                                                                                                                                            
                                                                                                                                            ✔   Paper

                                                              Nature of the business operation, including type of services the              If debtor provides meals
            Facility name and address                         debtor provides                                                               and housing, number of
                                                                                                                                            patients in debtor’s care

   15.2.                                                                                                                                    ____________________
            ________________________________________
            Facility name


                                                              Location where patient records are maintained (if different from facility     How are records kept?
                                                              address). If electronic, identify any service provider.

                                                                                                                                            Check all that apply:
                                                                                                                                             Electronically
                                                                                                                                            Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                      Medical history, social security numbers, insurance information, date of birth
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                 
                 ✔   No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                            Employer identification number of the plan

                        _______________________________________________________________________                 EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Regional Ambulance Service, Inc.
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              Regional Ambulance Service, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                      _____________________________________
          Case number                                 Name                                                                                        On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                        Governmental unit name and address            Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Jacqueline Brenes                                                                               From 08/01/2020
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               03/19/2021
              214 Oakwood Drive, Aiken, SC 29801                                                              To _______




              Name and address                                                                                Dates of service

              Amanda Johnson                                                                                  From 11/01/2017
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              2024 Loraine Street, Aiken, SC 29803                                                              09/01/2020
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Darrin Moyer
                    ______________________________________________________________________________
                    Name
                     1089 Augusta Road, Suite 300, Warrenville, SC 29851




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                    Regional Ambulance Service, Inc.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
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Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest       % of interest, if any
 Darren Moyer                                919 River Bound Court, Evans, GA 30809                  President/Shareholder                    100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any    Period during which position
                                                Address                                                 interest                      or interest was held


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates                Reason for providing
            Name and address of recipient                                            and value of property                                    the value

   30.1.    Darrin Moyer                                                                                                 3/1/2020            Salary
            ______________________________________________________________            129,230.64
                                                                                      _________________________          _____________
            Name
            919 River Bound Court
            Evans, GA 30809-4902                                                                                         3/22/2021
                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       04/12/2021
                               _________________
                                MM / DD / YYYY



              /s/ Darrin Moyer
              ___________________________________________________________                              Darrin Moyer
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔    No
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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 Fill in this information to identify the case and this filing:

              Regional Ambulance Service, Inc.
 Debtor Name __________________________________________________________________

                                         District of South Carolina
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04/12/2021
        Executed on ______________                          /s/ Darrin Moyer
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Darrin Moyer
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               United States Bankruptcy Court
                               District of South Carolina




         Regional Ambulance Service, Inc.
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              04/12/2021                          /s/ Darrin Moyer
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  President
                                                  Position or relationship to debtor
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A'Laya Nobles                                         Amanda Neese
483 Outing Club Road                                  24 Country Meadow Lane
Aiken, SC 29801                                       Lexington, SC 29073

Ace American Insurance Co.                            Amy Moyer
Lockbox #6907                                         919 Riverbound Court
P.O. Box 8500                                         Evans, GA 30809
Philadelphia, PA 19178
                                                      Angelica
ADP                                                   P.O. Box 532268
P.O. Box 12513                                        Atlanta, GA 30353-2268
1851 N. Resler Drive
El Paso, TX 79912                                     April R. Taylor
                                                      483 Outing Club Road
AFC Greer                                             Aiken, SC 29801
Attn: Anna Cardona
1467 Woodruff Road, Suite C                           Augusta Data Storage
Greenville, SC 29607                                  3122 Mike Padgett Highway
                                                      Augusta, GA 30906
AFC Urgent Care
P.O. Box 743652                                       Blue Cross Blue Shield of SC
Atlanta, GA 30374-3652                                4101 Percival Road
                                                      Columbia, SC 29219-8320
Aiken County EMS
1930 University Parkway, Suite 3200                   Bon Secours Ambulatory Service
Warrenville, SC 29851                                 St. Fran
                                                      1467 Woodruff Road, Suite C
Aiken Regional Medical Centers                        Greenville, SC 29607
Attn: Darren Waters, FBO Bus. & Ind. De
440 Society Hill Drive, Suite 204                     Brandon Ziglar
Aiken, SC 29803                                       1007 Frances Street
                                                      North Augusta, SC 29841
Air Gas
P.O. Box 734672                                       Brian C. Williams
Dallas, TX 75373                                      2184 Winding Trail Road
                                                      Graniteville, SC 29829
Air Gas
1221 New Savannah Road                                Briana E. Fallon
Augusta, GA 30901                                     4021 Percival Road
                                                      Apt. 1833
Akeil Hagin                                           Columbia, SC 29229
106 Edrie Oaks Circle
Aiken, SC 29801                                       Cassandra R. Dunbar
                                                      301 Huber Clay Road
Albert Maurice                                        Warrenville, SC 29851
145 Albert Road
West Columbia, SC 29172                               Catherine Kaylor
                                                      2007 Canada Drive
All Star Towing                                       Augusta, GA 30906
3500 Fernandina Road, Apt. E-3
Columbia, SC 29210                                    Christopher Burgess
                                                      2353 Camelia Street
Allen, Maxwell & Silver                               Cayce, SC 29033
P.O. Box 540
Fair Lawn, NJ 07410                                   Companion Life
                                                      P.O. Box 100102
Amanda Johnson                                        Columbia, SC 29202-3102
2024 Lorraine Drive Southwest
Aiken, SC 29801                                       Connector 2000 Association
                                                      P.O. Box 408
                                                      Piedmont, SC 29673
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Craig H. Allen, Esq.                                    Elizabeth Klein
Craig H. Allen, PA                                      401 Wannamaker Street
P.O. Box 10854                                          Orangeburg, SC 29115
Greenville, SC 29603
                                                        Emanuel Mixon
CSRA Paper & Janitorial Supply                          3421 Winesap Way
2002 Gordon Highway                                     Augusta, GA 30906
Augusta, GA 30909
                                                        Erica R. Zamora
Dallas J. Brown                                         332 Southbrook Drive
83 Boyd Drive                                           Lexington, SC 29073
Graniteville, SC 29829
                                                        Fedirra R. Bryant
Darrell S. Satcher                                      1914 Alan Avenue
202 Wildwood Drive                                      Aiken, SC 29801
North Augusta, SC 29841
                                                        Fisher & Phillips, LLP
Darrin K. Moyer                                         1320 Main Street, Suite 750
919 Riverbound Court                                    Columbia, SC 29201
Evans, GA 30809
                                                        Fuelman
Darrin Moyer                                            P.O. Box 70887
919 Riverbound Court                                    Charlotte, NC 28272
Evans, GA 30809
                                                        Fulcher Hagler, LLP
Darrin Moyer                                            Attn: Scott Lewis
1089 Augusta Road                                       One 10th Street, Suite 700
Warrenville, SC 29851                                   Augusta, GA 30901

Daryl Leto                                              George Rivers
379 Redds Branch Road                                   110 Joe Paul Drive
Aiken, SC 29801                                         Cordova, SC 29039

Deltacom, n/k/a Windstream Enterprise                   Gray's Auto & Tire
P.O. Box 2252                                           3702 Bamberg Road
Birmingham, AL 35246-1058                               Orangeburg, SC 29115

Department of The Treasury, IRS                         Hamilton McKinney & Moss
Centralized Insolvency Operation                        10120 Two Notch Road
P.O. Box 7346                                           Suite 2, #402
Philadelphia, PA 19101                                  Columbia, SC 29223

Dept. of Public Utilities                               Hannah E. Greene
P.O. Box 1057                                           201 Woodgate Drive
Orangeburg, SC 29116-1057                               Columbia, SC 29223

Doctors Care                                            Harrison Arline
P.O. Box 63418                                          111 Sabal Drive
Charlotte, NC 28263-3418                                Aiken, SC 29803

Dwight B. Pixley                                        Heather M. Durham
144 Denise Court                                        420 E. Wise Street
Aiken, SC 29801                                         Trenton, SC 29847

Eddie E. White                                          Henry Abeyta
332 Southbrook Drive                                    159 North Wrennwood
Lexington, SC 29073                                     Lexington, SC 29073

EDTS, n/k/a Corsica Technologies                        Jacqueline Brenes
1721 Goodrich Street                                    214 Oakwood Drive
Augusta, GA 30904                                       Aiken, SC 29801
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Jazmyn Couvillon                                       Michael Close
133 Bradleyville Road                                  776 W. Martintown Road
North Augusta, SC 29841                                North Augusta, SC 29841

Jeffrey Kyle Foster                                    Midlands Exams & Drug Screening
174 Spring Oak Lane                                    3020 Sunset Blvd., Suite 102
North Augusta, SC 29841                                West Columbia, SC 29169

Jiffy Lube                                             Midlands Technical College
P.O. Box 211042                                        P.O. Box 2408
Martinez, GA 30917                                     Columbia, SC 29202

John Adams                                             NACM Southwest
519 Augusta Road                                       751 Plaza Blvd.
Warrenville, SC 29851                                  Coppell, TX 75019

Jose Mendoza                                           Nicholas Jackson
1723 Colleton Avenue                                   633 Rawl Street
Aiken, SC 29801                                        Columbia, SC 29203

Kara L. Jolly                                          O'Reilly Auto Parts
5234 Platt Springs Road                                1012 Gregg Highway NW
Lot 2                                                  Aiken, SC 29801
Lexington, SC 29073
                                                       Odel D. Pearson
Keyrisk                                                401 Wanna Maker Street
P.O. Box 18746                                         Orangeburg, SC 29115
Greensboro, NC 27419
                                                       Piedmont Planning, LLC
Kordisha Mayers                                        1089 Augusta Road
4932 Barrington Drive                                  Warrenville, SC 29851
Columbia, SC 29203
                                                       Pollock
Lee Yvette McGraw                                      1711 Central Avenue
530 Chisolm Way                                        Augusta, GA 30904
Lexington, SC 29073
                                                       Quadient Leasing USA, Inc.
Levi, Wittenburg, Harriet, Hoeffer                     Dept. 3682
P.O. Drawer 730                                        P.O. Box 123682
Sumter, SC 29151                                       Dallas, TX 75312-3682

Lexington Medical Center                               Robert Metz
Attn: Nancy Sells                                      309 Gemstone Court
P.O. Box 2210                                          Lexington, SC 29072
Lexington, SC 29071-2210
                                                       Robin Armstrong
Mail Finance                                           1253 Basin Rock Lane
25881 Network Place                                    Lexington, SC 29073
Chicago, IL 60673
                                                       Sarah A. Harding
Mail Finance/Neopost USA, Inc.                         32 Hampton Drive
478 Wheelers Farm Road                                 Warrenville, SC 29851
Milford, CT 06461
                                                       SBA Office of Disaster Assistance
McCarthy, Reynolds & Penn, LLC                         408 3rd Street, SW
1517 Laurel Street                                     Washington, DC 20416
P.O. Box 11332
Columbia, SC 29211-1332                                SC Department of Revenue
                                                       P.O. Box 12265
Med Care Columbia                                      Columbia, SC 29211-9079
P.O. Box 415000
Nashville, TN 37241
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SC Dept. of Employment and Workforce                  UMG Prompt Care
1550 Gadsden Street                                   925 Branch Court
P.O. Box 8597                                         Grovetown, GA 30813
Columbia, SC 29202
                                                      University Occupational Health Center
Schroeder's Towing                                    3121 Peach Orchard Road, Suite 201
3512 Bush River Road                                  Augusta, GA 30906
Columbia, SC 29210
                                                      Uppro
Shannon R. Williamson                                 Attn: Dan Choi
295 Baylor Drive                                      25 Broadway, 9th Floor
Graniteville, SC 29829                                New York, NJ 10004

South Carolina Health Care Association                Urgent Care Group, LLC
176 Laurelhurst Avenue                                P.O. Box 415000
Columbia, SC 29210                                    Nashville, TN 37241-8091

Southern Anesthesia Surgical, Inc.                    US Bank Equipment Finance
One Southern Court                                    P.O. Box 790448
West Columbia, SC 29169                               St Louis, MO 63179-0448

Stamps.com                                            US Securities and Exchange Commission
1990 East Grand Avenue                                Office of Reorganization
El Segundo, CA 90245                                  950 East Paces Ferry Road, NE, Suite 900
                                                      Atlanta, GA 30326-1382
Stephen Anglin, III
5012 Serendipity Court                                US Small Business Administration
Aiken, SC 29803                                       2 North 20th Street, Suite 320
                                                      Birmingham, AL 35203
Steve W. Shillinglaw
1998 Windrose Way                                     US Standard Products
Myrtle Beach, SC 29577                                P.O. Box 5509
                                                      Englewood, NJ 07631
Stevens Towing
2307 Airport Road                                     Verizon
Greer, SC 29650                                       P.O. Box 660108
                                                      Dallas, TX 75226-0108
Sydney Elkins
130 Adler Road                                        Veronica D. Weston
West Columbia, SC 29170                               305 Holt Street
                                                      Eastover, SC 29044
Tabitha L. Perkins
1915 Old Barnwell Road                                Wells Fargo
Lexington, SC 29073                                   1739 Whiskey Road
                                                      Aiken, SC 29803
The Hartford Sentinel Insurance Co.
P.O. Box 660916                                       Wells Fargo
Dallas, TX 75266-0916                                 1797 Whiskey Road
                                                      Aiken, SC 29803
Tiara Jenkins
122 Springwood Loop                                   Wingard Towing
Warrenville, SC 29851                                 1809 Augusta Road
                                                      West Columbia, SC 29169
Tracy L. Winters
509 Polo Drive                                        Worker's Compensation RX Solutions
Aiken, SC 29801                                       14301 N. 87th Street
                                                      Scottsdale, AZ 85260
Trevor Starnes
76 Edwards Drive                                      Zenobia T. Darby
North Augusta, SC 29860                               50 Dallas Circle
                                                      Aiken, SC 29801
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Zters, Inc.
13727 Office Park Drive
Houston, TX 77070

Zurich North America
P.O. Box 464
Carol Stream, IL 60197-4664
        Case
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                                      United States Bankruptcy Court
                                                               District of South Carolina
                                               __________________________________
     In re   Regional Ambulance Service, Inc.

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         20,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         350.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]
See Retainer Agreement




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
See Retainer Agreement
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       04/12/2021                       /s/ Christine E. Brimm, SC 6569 / FED 6313
     _____________________             _________________________________________
     Date                                    Signature of Attorney
                                        Barton Brimm, PA
                                       _________________________________________
                                            ​Name of law firm
                                        1500 Highway 17 Business North
                                        Suite 214
                                        Surfside Beach, SC 29575-5142
                                        8032566582
                                        cbrimm@bartonbrimm.com
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    ATTACHMENT TO DISCLOSURE OF COMPENSATION OF ATTORNEY FOR
                            DEBTOR

Retainer Amount                      $20,000.00
Filing Fee                            $1,738.00

                                     $21,738.00

Amount Applied to
Pre-petition fees (3/31/21)          - $9,745.80

Amount Applied to
Pre-petition fees (4/12/21)          -$8,132.00

Filing Fee Applied (4/12/21)         -$1,738.00


RETAINER BALANCE                     $2,122.20
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                                           United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Regional Ambulance Service, Inc.                                                11
__________________________________________________________ Chapter __________________

                                   LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Darren Moyer                                                100
 919 River Bound Court, Evans, GA 30809
